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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

THOMAS GEBKA, Individually and on          )
behalf of all others similarly situated,   )
                                           )
                      Plaintiff,           )   Case No. 1:19-cv-06662
                                           )
           v.                              )   Hon. Sharon J. Coleman
                                           )
ALLSTATE INSURANCE COMPANY,                )   Mag. Jeffrey I. Cummings
a Delaware limited liability company,      )
                                           )
                      Defendant.           )

           PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL
           OF CLASS ACTION SETTLEMENT AND SUPPORTING MEMORANDUM




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                       MEMORANDUM OF POINTS AND AUTHORITIES

I.         INTRODUCTION

           Plaintiff Thomas Gebka (“Plaintiff”) respectfully moves the Court for preliminary approval

of the class action settlement (“Settlement”) reached between Plaintiff and Defendant Allstate

Insurance Company (“Allstate” or “Defendant”) (collectively, the “Parties”), which is attached

hereto as Appendix 1.

           Mr. Gebka alleges Allstate violated the Telephone Consumer Protection Act (“TCPA”), 47

U.S.C. § 227(c), and the TCPA implementing regulations, 47 C.F.R. § 64.1200(c)(2), by placing

telemarketing calls without prior express written invitation or permission to persons whose

telephone numbers were registered on the national Do-Not-Call Registry.

           After nearly two-and-a-half years of hard-fought litigation, which entailed substantial

motion practice, extensive party and non-party discovery, and discovery disputes in this District,

the District of Massachusetts, and the Southern District of Ohio to enforce third-party subpoenas,

the Parties participated in a day-long mediation overseen by the Honorable Judge Morton Denlow

(ret.).

           These efforts culminated in a class-wide Settlement which provides outstanding relief for

a Settlement Class of approximately 7,451 individuals whose telephone numbers were registered

on the national Do Not Call registry and to whom Allstate or anyone allegedly acting on its behalf

made at least two telemarketing calls directed by Richardson Marketing Group and related entities.

           If approved, Allstate is required to pay $4,500,000.00 into a non-reversionary Settlement

Fund from which each Settlement Class Member who files a valid claim will receive a pro-rata

distribution based on the number of calls to the person. Plaintiff estimates that every class member




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who files a valid claim will receive $1,000 based on $500 per call. 1

           As demonstrated below, this is an excellent result especially in light of the fact the class’

Do Not Call Claim2 provides for “up to $500” in statutory damages per violation, which can be

tripled if willfulness is proven. 47 U.S.C. § 227(c)(5)(B) (emphasis added).3

           This significant relief provided by the Settlement, along with its equitable and effective

method of distribution, places it squarely within the range of possible approval, and the proposed

Settlement Class easily satisfies Rule 23’s requirements for conditional certification. Accordingly,

Plaintiff respectfully requests that the Court grant preliminary approval of the Settlement, certify

the proposed Settlement Class, appoint Plaintiff’s attorneys as Class Counsel, approve the

proposed form and method of Class Notice, and set a Final Approval Hearing.

II.        RELEVANT BACKGROUND

           A.     Plaintiff’s allegations.

           Plaintiff alleges that Allstate solicits potential customers through telemarketing calls

advertising and encouraging the purchase of Allstate insurance. Second Amended Compl. ¶ 29

(ECF No. 95). Specifically, Allstate authorized its Allstate agencies to solicit new customers

through telemarketing calls, and advised and authorized them to engage third-party vendors to



1
 The Settlement provides $500 per call and the average number of calls is two. If there is not sufficient
funds to pay $500 per call, each class member will receive a pro-rata distribution per call after deduction
of administration costs, reimbursed expenses, an incentive award, and attorneys’ fees. As explained below,
Plaintiff will separately file a fee petition and there is no clear sailing agreement for fees or an incentive
award.

2
 Plaintiff amended the complaint to add a prerecorded call claim, but based on discovery, that claim will
be dismissed without prejudice for the class and is not being released by the class as part of the Settlement.

3
 Other claims under the TCPA mandate $500 per violation, 47 U.S.C. § 227(b)(3)(B), but the DNC claims
can provide substantially less since the TCPA provides for “up to $500” per DNC violation, which requires
two calls, 47 U.S.C. § 227(c)(5). Thus, it is possible for the Court or jury to find a DNC violation and
award a nominal statutory damage.

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place the calls. Id. ¶¶ 23-24, 86-88, 93-95, 105. The Allstate Agencies contracted with third-party

telemarketing vendors who, in turn, directed their call center partners to place the calls. Id. ¶¶ 26-

28, 98, 109.

           One such vendor was Richardson Marketing Group (“RMG”). Allstate endorsed RMG to

Allstate agencies and was involved in obtaining special group pricing to incentivize them to use

RMG. Id. ¶¶ 96-97. Allstate agencies entered into over eighty lead-generation contracts with

RMG during the class period. Id. ¶ 98. Pursuant to those contracts, RMG directed its call centers

to place telemarketing calls to Plaintiff and the other Settlement Class Members. Id. ¶ 46. Plaintiff

has no prior relationship with Allstate or any Allstate agency, id. ¶ 77, and his telephone number

has been on the National Do Not Call (“DNC”) registry since more than thirty-one days before the

calls to his number began, id ¶ 33. The same is true of the other Settlement Class Members.

           On August 8, 2019, Plaintiff received three telemarketing calls about Allstate insurance

quotes, two of which said they were “on behalf of Allstate.” Id. ¶¶ 34, 36, 37, 39, 42. The second

call was transferred to the Brian Saving Allstate agency, which spoke to him about a quote. Id. ¶

40. Later that day, the agency sent Plaintiff a quote for Allstate insurance. Id. ¶ 41. On September

18, 2019, Plaintiff received another call promoting Allstate insurance from someone who said he

was “calling on behalf of Allstate.” Id. ¶¶ 43-44. All of these calls were placed by call centers

directed by RMG, who was hired by the Brian Saving Allstate agency. Id. ¶ 46.

           According to Plaintiff, the calls were made without his or the other Settlement Class

Members’ prior express written invitation or permission and violated the Do Not Call provisions

of the TCPA and its implementing regulations, 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(c)(2).

           B.     Procedural History.

           On October 8, 2019, Plaintiff filed a Class Action Complaint alleging the calls violated the



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TCPA because they used an automatic telephone dialing system (“ATDS”), see ECF No. 1 ¶¶ 1-

2, 12-13, 15-35, 37, 52-57, and because the telephone numbers called were registered on the

National Do-Not-Call registry at the time of the calls, see id. ¶¶ 15-25, 28-35, 37, 58-62. On

November 26, 2019, Allstate filed its Answer and affirmative defenses to the complaint. ECF No.

20.

           On November 11, 2020, Plaintiff sought leave to file an amended complaint adding a claim

that a prerecorded call believed to be made on behalf of Allstate that used an artificial and/or

prerecorded voice violated the TCPA and implementing regulations. See ECF No. 58. Leave to

amend was granted, see ECF No. 77, and Plaintiff filed an Amended Class Action Complaint

adding the claim for the prerecorded calls on March 31, 2021, see ECF No. 79.

           Meanwhile, on November 19, 2020, Allstate had filed a motion to stay the case pending

the United States Supreme Court’s decision regarding the TCPA’s definition of an ATDS in

Facebook, Inc. v. Duguid, No. 19-511. See ECF No. 64. After the stay motion was fully briefed,

see ECF Nos. 71-72, Facebook was decided on April 1, 2021 and the motion was denied as moot,

see ECF No. 101.

           Allstate then moved to dismiss the amended complaint on April 19, 2021. ECF No. 87.

On May 18, 2021, Plaintiff sought leave to file a second amended complaint to, inter alia, remove

the ATDS claim based on the Supreme Court’s decision in Facebook, Inc. v. Duguid, 141 S.Ct.

1163 (2021), which clarified the definition of ATDS. See ECF No. 92.

           Leave to amend was granted, see ECF No. 94, and Plaintiff filed the currently-operative

Second Amended Class Action Complaint on May 20, 2021, see ECF No. 95. On June 3, 2021,

Allstate moved to dismiss pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6), arguing it is not

vicariously liable for the calls and Plaintiff lacks Article III standing. See ECF Nos. 96-97.



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           Plaintiff also initiated another action in the United States District Court for the District of

Massachusetts on June 10, 2021 to enforce his third-party subpoena against Everquote, Inc.

           After the Parties fully briefed the motion to dismiss, see ECF Nos. 108, 110-111, and

Plaintiff subsequently filed a notice of supplemental authority, see ECF No. 112, Allstate moved

to stay discovery pending the ruling on the motion to dismiss, see ECF No. 113. On September 1,

2021, the case was stayed over Plaintiff’s objection. See ECF No. 114. Plaintiff filed a motion to

reconsider the stay. See ECF No. 115.

           On October 25, 2021, the motion to dismiss the Second Amended Complaint was denied.

See ECF No. 119. Later the same day, the stay was lifted and the motion to reconsider was denied

as moot. See ECF No. 120. On November 15, 2021, Allstate filed its Answer and Affirmative

Defenses to the Second Amended Complaint. See ECF No. 124.

           The Parties subsequently agreed to mediate, and the case was again stayed on December

13, 2021. See ECF Nos. 125-126.

           The mediation occurred on February 10, 2022 before the Honorable Morton Denlow (ret.)

of Judicial Arbitration and Mediation Services, Inc. (“JAMS”). In the weeks leading up to the

mediation, the Parties submitted detailed briefs setting forth their respective views on the strengths

of their cases. See Declaration of Keith J. Keogh ¶ 5 (“Keogh Decl.”), attached as Appendix 2.

At the day-long mediation, the parties discussed their relative views of the law and the facts and

potential relief for the proposed Class. Id. ¶ 6. With the assistance of Judge Denlow, and the day

of arm’s-length negotiations, the Parties reached an agreement-in-principle on the material terms

of a class-wide settlement. Id.

           Following the mediation, the Parties continued extensive negotiations for more than a

month on their remaining points of dispute, id. ¶ 6, which culminated in the fully-executed



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Agreement for which the Parties now seek preliminary approval.

           C.     Discovery.

           On December 13, 2019, Plaintiff issued third-party subpoenas for documents to Brian

Saving and the Brian Saving Allstate Agency.

           On December 27, 2019, Plaintiff issued third-party subpoenas for documents to RMG and

its CEO, Deryck Richardson. As noted above, Plaintiff was forced to initiate a separate action in

the United States District Court for the Southern District of Ohio on January 28, 2020. Plaintiff

pursued the matter for the next five months until his motion to compel which had initiated that

action was granted on May 22, 2020, and he thereafter finally obtained compliance with the

subpoenas including production of crucial call records.

           On January 29, 2020, Plaintiff issued his First Set of Interrogatories, Document Requests,

and Requests to admit to Allstate, which Allstate timely answered. Allstate served supplemental

answers to that discovery on April 10, 2020. On August 21, 2020, Plaintiff filed a motion to

compel Allstate to further supplement the interrogatories regarding consent and produce

unredacted class data. See ECF No. 49. The motion was granted in part and denied in part on

March 4, 2021. See ECF Nos. 74-75. Allstate timely supplemented those interrogatory answers

on March 25, 2021. The Parties conferred about the supplemental answers, resulting in Allstate

further supplementing them on April 5, 2021, and following a subsequent conferral about the

adequacy of those answers Allstate supplemented them again on April 19, 2021.

           On February 27, 2020, Allstate served Plaintiff with interrogatories, document requests,

and requests to admit, Plaintiff timely answered. Plaintiff served supplemental answers to various

interrogatories on August 10, 2020.

           On October 13, 2020, in order to obtain discovery about the prerecorded voice



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telemarketing call he received after the lawsuit was filed, Plaintiff issued third-party subpoenas for

documents to Everquote, Inc., the lead vendor associated with the call, as well as to Matthew

Wigington and The Wigington Agency, which was the Allstate agency believed to be associated

with that call and others. After several conferrals, Plaintiff was able to obtain compliance with the

Wigington subpoenas.

           Plaintiff was forced to initiate a separate action to enforce the subpoena in the United States

District Court for the District of Massachusetts, which he did on June 9, 2021.

           On August 9, 2021, Plaintiff served Allstate with a Second Set of Interrogatories,

Document Requests, and Requests to admit. To that same end, when the stay entered days later

was lifted, Plaintiff served Allstate with a Third Set of Interrogatories on November 16, 2021.

           Plaintiff retained a database expert to analyze the call records obtained from RMG. The

parties subsequently exchanged their experts’ results in preparation for the mediation.

           D.     The proposed Settlement.

           The Settlement’s details are contained in the Agreement signed by the Parties. See App. 1.

For purposes of preliminary approval, the following summarizes the Agreement’s terms:

                  1. The Settlement Class.

           The Settlement Class is defined as follows:

           [T]he approximately 7,451 individuals to whom: (a) Allstate or anyone allegedly
           acting on its behalf made at least two telephone calls based on leads provided by,
           through, and/or directed by Richardson Marketing Group and related entities within
           a 12-month period (b) promoting Allstate insurance (c) between October 8, 2015
           and present (d) where the person’s telephone number was registered on a Do Not
           Call registry for more than 31 days before the first call.

App. 1 § 2.26.4 Based on call records compiled in discovery, the Settlement Class consists of


4
 Excluded from the Settlement Class are the Judge to whom the Action is assigned and any member of the
Court’s staff and immediate family (to the extent they received a listed call), all persons who have opted-
out of the Settlement Class pursuant to the requirements set forth in Section 13.1 of this Agreement, and

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approximately 7,451 individuals. See App. 2 ¶ 9 (Keogh Decl.).

                  2. Monetary relief for Settlement Class Members.

           The Settlement requires Allstate to create a non-reversionary Settlement Fund of

$4,500,000.00, see App. 1 §§ 2.31, 5.1, 9.1, from which each Settlement Class Member who files

a valid claim will receive a pro rata portion (based on the number of calls to the person) after

payment of attorneys’ fees and costs, any incentive award approved by the Court, and the other

Settlement Costs incurred, see App. 1 §§ 2.30, 2.35, 5.2, 11.1, 12.1. No amount of the Settlement

Fund will revert to Allstate. See id. § 12.2.

           Class Counsel, based on their experience in similar TCPA class actions, estimate net

awards of $1,000 based on $500 per call. Checks issued to Settlement Class Members shall remain

valid for 120 days from the date of issuance. App. 1 § 12.1.

                  3. Cy pres distributions.

           If, after the expiration date of the checks distributed, there remains money in the Settlement

Fund, all money remaining will be donated to a cy pres beneficiary. App. 1 § 12.1. The class notice

will identify this organization.

           Subject to Court approval, Plaintiff suggests any such funds be sent to the National

Consumer Law Center (“NCLC”) and earmarked for working to safeguard the protections of the

TCPA, as one would be hard pressed to find another organization more closely aligned with the

class’s interests than NCLC. See Ira Holtzman, C.P.A., & Assocs. v. Turza, 728 F.3d 682, 689 (7th

Cir. 2013) (TCPA class action rejecting Legal Assistance Foundation of Metropolitan Chicago as

a cy pres recipient because, although court acknowledged it was “a worthy organization,” it was



individuals whose claims would be or are included in any other settlement. See App. 1§ 2.26. The Settlement
Class does not include any claims for prerecorded calls that were alleged in the Second Amended
Complaint, other than the individual claims of Gebka. Id.

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not closely related to class’s interests and “does not directly or indirectly benefit” those interests).5

Allstate reserves the right to propose an alternative or co-cy pres recipient.

                  4. Settlement Class release.

           In exchange for the benefits allowed under the Settlement, Settlement Class Members who

do not opt out will provide a release tailored to the practices at issue in this case. Specifically, they

will release all claims “that arise out of or relate in any way to Allstate or anyone allegedly acting

on its behalf making telephone calls based on leads provided by, through, and/or directed by

Richardson Marketing Group and related entities where the person’s telephone number was

registered on a Do Not Call registry for more than 31 days before the first call.” App. 1 § 16.2.

Further, the prerecorded call claim will not be released and that claim will be dismissed without

prejudice. In addition, and separately, Plaintiff will release any and all individual claims as alleged

in the Second Amended Complaint, including the claims for prerecorded calls. Id.




5
  NCLC has fought to preserve the TCPA’s protections for years before Congress, before the Federal
Communications Commission (“FCC”), and before the courts as an amicus curiae, and is a leading
consumer advocacy organization on TCPA matters. Since 2014, it has commented on almost every major
proceeding, and many minor proceedings, before the FCC concerning the TCPA. See Robocalls &
Telemarketing, National Consumer Law Center, https://www.nclc.org/issues/robocalls-and-
telemarketing.html (last visited Apr. 18, 2022). NCLC staff meet regularly with staff of the former and
current FCC Chairman’s office as well as with staff of other Commissioners’ office and staff of the
Consumer and Governmental Affairs Bureau. Id. NCLC staff have also testified before both the House of
Representatives and the Senate concerning the TCPA. Id. In addition, NCLC has submitted amicus briefs
to the Supreme Court and Federal Courts of Appeal in numerous TCPA cases. Id. Thus, NCLC’s work
reasonably approximates the interests pursued by the class. Given NCLC’s proven record of TCPA
advocacy, numerous courts have approved NCLC as a cy pres recipient in TCPA class actions, often over
defendant’s objection. See e.g., Braver v. Northstar, 5:17-cv-00383-F (W.D. Okla. 2020), ECF No. 273;
Leung v. XPO Logistics, Inc., 326 F.R.D. 185, 205-06 (N.D. Ill. 2018); Keim v. ADF Midatlantic, LLC,
2020 U.S. Dist. LEXIS 49933, *11 (S.D. Fla. 2020); Lee v. Global Tel*Link Corp., 2018 U.S. Dist. LEXIS
163410, *23-25 (S.D. Cal. 2018); Martinez v. Medicredit, Inc., 2018 U.S. Dist. LEXIS 81818, *4-5 (E.D.
Mo. 2018); Jonsson v. USCB, Inc., 2015 U.S. Dist. LEXIS 69934, *30 (C.D. Cal. 2015); Willett, et al. v.
Redflex Traffic Systems, Inc., et al., Case No. 13-cv-01241-JCH-RHS, Doc. 269 (D.N.M. Oct. 24, 2016);
see also Legg v. AEO, 14-cv-02440-VEC (S.D.N.Y. 2017) (TCPA) (approving NCLC for TCPA class
case); In re Convergent Outsourcing, Inc. Telephone Consumer Protection Act Litigation, Master Docket
No. 3:13-cv-1866-AWT (D. Conn. Nov. 10, 2016) (Same).

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                  5. Class Representative Service Award.

           The Agreement provides that Plaintiff may petition the Court for a Service Award. App. 1

§ 6.2. There is no clear sailing provision as to this request. See id. The Service Award shall be paid

out of the Settlement Fund and is subject to this Court’s approval. Id. Neither Court approval nor

the amount of the Service Award is a condition of the Settlement. Id. § 6.3. Given Plaintiff’s

extensive efforts prosecuting this action for the Settlement Class, Plaintiff anticipates requesting a

Service Award of $10,000.00. The Class Notice will advise the Settlement Class of Plaintiff’s

request.

                  6. Attorneys’ fees and costs.

           At the same time as notice is sent, Class Counsel will apply to the Court for an award of

attorneys’ fees and costs. As with the incentive award to the class, the Agreement does not contain

a clear sailing agreement as to attorney fees or costs. As will be addressed in Class Counsel’s

motion for attorneys’ fees, courts in this district commonly award approximately 36% after

administration costs are first deducted plus reasonable expenses in common fund class settlements.

See, e.g., Birchmeier v. Caribbean Cruise Line, Inc., 896 F.3d 792, 796-97 (7th Cir. 2018)

(affirming attorney fees in TCPA class action of 36% of the first $10 million, 30% of the next $10

million, and 24% of the next $34 million).

           This amount is appropriate to compensate Class Counsel for the work they have performed

in procuring a settlement for the Settlement Class and for the work remaining to be performed in

documenting the settlement, securing Court approval of it, overseeing settlement implementation

and administration, assisting Settlement Class Members, and obtaining dismissal of the action. It

should be noted, however, that the Settlement is not contingent on Court approval of an award of

attorneys’ fees or costs. App. 1 § 6.3. Further, the Class Notice will inform the Settlement Class



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Members that Class Counsel will seek 36% of the fund net administration costs.

                  7. Administration and Notice.

           All costs of notice and claims administration shall be advanced by Allstate, credited against

the Settlement Fund. App. 1 § 9.1(a). The Administrator will be subject to this Court’s approval.

The Administrator shall administer the Settlement, which includes the following duties: (1) issuing

Class Notice; (2) setting up and maintaining the settlement website and toll-free number; and (3)

issuing settlement payments. Id. §§ 10.1, 10.2, 12.1.

           Within twenty-one (21) days of entry of the Preliminary Approval Order, the Administrator

will issue the Mail Notice (Exhibit 3 to the Agreement) with the attached claim form via direct

mail to all Settlement Class Members. Id. §§ 2.18, 2.19, 8.1(D), 10.2(A). First, the Administrator

will obtain any missing addresses by performing a reverse look-up using the telephone number.

Id. § 10.2(A). For Mail Notices returned as undeliverable, the Administrator will perform skip

tracing and re-issue the Mail Notice to all Settlement Class Members for whom an alternative

address can be found. Id.

           Thirty days after the first notice, the Administrator will issue a second Mail Notice with

the attached claim form to all Settlement Class Members who have not submitted a claim or opted

out. Id. §§ 2.18, 10.2(A). Two weeks prior to the claim deadline, the Administrator will issue a

“reminder” E-Mail Notice (Exhibit 1 to the Agreement) to all Settlement Class Members whose

email addresses are known and who have not submitted a claim or opted out. Id. §§ 2.12, 10.2(A).

           Claims can be submitted online, via the mail or even via telephone using the claim

identification number on the class members’ notice.

           Further, the Administrator will establish and maintain a Settlement Website. Id. § 10.2(B).

The Settlement Website will include general information such as the Agreement, Website Notice



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(Exhibit 5 to the Agreement), the Preliminary Approval Order, the operative Complaint, the

attorney fee motion and any other materials the Parties agree to include. Id.

III.       ARGUMENT

           A.     The settlement approval process.

           Under Fed. R. Civ. P. 23(e)(1)(C), a court may approve a class action settlement if it is

“fair, adequate, and reasonable, and not a product of collusion” There is usually a presumption of

fairness when a proposed class settlement “is the product of arm’s length negotiations, sufficient

discovery has been taken to allow the parties and the court to act intelligently, and counsel involved

are competent and experienced.” H. Newberg, A. Conte, Newberg on Class Actions § 11.41 (4th

ed. 2002); Goldsmith v. Technology Solutions Co., No. 92 C 4374, 1995 U.S. Dist. LEXIS 15093,

at *10 n.2 (N.D. Ill. Oct. 10, 1995).

           As the Seventh Circuit has recognized, federal courts strongly favor and encourage

settlements, particularly in class actions and other complex matters, where the inherent costs,

delays, and risks of continued litigation might otherwise overwhelm any potential benefit the class

could hope to obtain:

           It is axiomatic that the federal courts look with great favor upon the voluntary
           resolution of litigation through settlement. In the class action context in particular,
           there is an overriding public interest in favor of settlement. Settlement of the
           complex disputes often involved in class actions minimizes the litigation expenses
           of both parties and also reduces the strain such litigation imposes upon already
           scarce judicial resources.

Armstrong v. Bd. of Sch. Dirs. of the City of Milwaukee, 616 F.2d 305, 312-13 (7th Cir. 1980)

(citations and quotations omitted), overruled on other grounds by Felzen v. Andreas, 134 F.3d 873,

875 (7th Cir. 1998); see also Isby v. Bayh, 75 F.3d 1191, 1196 (7th Cir. 1996) (“Federal courts

naturally favor the settlement of class action litigation.”); H. Newberg, A. Conte, Newberg on

Class Actions § 11.41 (4th ed. 2002) (citing cases).


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           The Manual for Complex Litigation § 21.63 (4th ed. 2004) describes a three-step procedure

for approval of class action settlements:

           (1) Preliminary approval of the proposed settlement at an informal hearing;

           (2) Dissemination of mailed and/or published notice of the settlement to all affected
               class members; and

           (3) A “formal fairness hearing” or final settlement approval hearing, at which class
               members may be heard regarding the settlement, and at which evidence and
               argument concerning the fairness, adequacy, and reasonableness of the
               settlement may be presented.

This procedure safeguards class members’ due process rights and enables the Court to fulfill its

role as the guardian of class interests. H. Newberg, A. Conte, Newberg on Class Actions § 11.25.

This Motion requests that the Court take the first step by granting preliminary approval.

           Under Rule 23(e), in weighing a grant of preliminary approval, district courts must

determine whether “giving notice is justified by the parties’ showing that the court will likely be

able to: (i) approve the proposal under Rule 23(e)(2); and (ii) certify the class for purposes of

judgment on the proposal.” In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig.,

330 F.R.D. 11, 28 (E.D.N.Y. 2019) (emphasis in original) (citing Fed. R. Civ. P. 23(e)(1)(B)(i)-

(ii)). Both requirements are satisfied here.

           B.     The Settlement warrants preliminary approval.

           When deciding whether to grant preliminary approval, Rule 23(e)(2) directs courts to

consider whether: (1) the named plaintiff and class counsel have adequately represented the class;

(2) the settlement resulted from arm’s-length negotiations; (3) the settlement treats class members

equitably; and (4) the relief provided for the class is adequate. Fed. R. Civ. P. 23(e)(2); accord

Rysewyk v. Sears Holdings Corp., No. 1:15-cv-4519-MSS, 2019 U.S. Dist. LEXIS 236004, at *11-




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12 (N.D. Ill. Jan. 29, 2019).6 Each of these factors support preliminary approval.

                   1. The Class has been adequately represented.

           The first Rule 23(e)(2) factor analyzes whether the named plaintiff and class counsel have

adequately represented the class. Fed. R. Civ. P. 23(e)(2)(4). This requirement is satisfied if the

named plaintiff: (1) possesses an interest in the outcome of the case sufficient to ensure vigorous

advocacy; (2) has no interest antagonistic to the class’s; and (2) has retained qualified and

competent counsel. Fournigault v. Independence One Mortgage Corp., 234 F.R.D. 641, 646 (N.D.

Ill. 2006).

           The first two prongs are satisfied here. To begin, Plaintiff’s interests in this case are aligned

with, and not antagonistic to, those of the class she seeks to represent. Plaintiff and the other

Settlement Class Members all share identical claims arising from a common course of conduct:

Allstate or someone allegedly acting on its behalf making telemarketing calls to the class based on

leads provided by, through, and/or directed by Richardson Marketing Group where their telephone

numbers were registered on the Do Not Call registry for more than 31 days before the first call. To

vindicate those claims, Plaintiff has vigorously prosecuted this action on behalf of the Settlement

Class by retaining counsel, assisting his attorneys in investigating the Settlement Class’s TCPA

claims, reviewing and approving each of the three class action complaints prior to filing, answering

written discovery, regularly conferring with his attorneys throughout the litigation, and reviewing

and approving the Agreement prior to signing it. See App. 2 ¶ 14.



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  The factors to be considered under the 2018 amendment to Rule 23 “overlap with the factors articulated
by the Seventh Circuit, which include: ‘(1) the strength of the case for plaintiffs on the merits, balanced
against the extent of the settlement offer; (2) the complexity, length, and expense of further litigation; (3)
the amount of opposition to the settlement; (4) the reaction of members of the class to the settlement; (5)
the opinion of competent counsel; and (6) stage of the proceedings and the amount of discovery
completed.’” Rysewyk, 2019 U.S. Dist. LEXIS 236004, at *12 (quoting Wong v. Accretive Health, Inc., 773
F.3d 859, 863 (7th Cir. 2014)).

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           The third prong of the adequacy analysis is also satisfied because Class Counsel have

extensive experience in complex litigation and consumer class actions involving TCPA claims,

and have been found adequate and appointed class counsel in scores of cases arising under the

TCPA and various other consumer protection statutes. See App. 2 ¶¶ 3, 15-55. Drawing on this

experience, proposed Class Counsel were able to extensively evaluate the merits of this case,

Allstate’s defenses, the benefits of the proposed Settlement, and the attendant risks of further

litigation. Id. ¶¶ 10, 12-13.

           Class Counsel have vigorously pursued the class claims from the outset by investigating

Plaintiff’s claims, drafting and filing several well-pleaded complaints, briefing and defeating a

motion to dismiss, taking party and non-party discovery into merits and class issues, litigating a

number of discovery disputes (including initiating two separate cases in other districts to enforce

subpoenas), and preparing a detailed mediation statement that spelled out Plaintiff’s factual and

legal theories. Id. ¶¶ 4-5. These efforts culminated in a non-reversionary Settlement Fund that

provides all Settlement Class Members who submit valid claims with significant cash relief. As

such, the Court should find the adequacy of representation prong met.

                  2. The Settlement resulted from arm’s length negotiations.

           The Settlement is the product of an “arm’s length transaction such Rule 23(e)(2) is

satisfied. It was only after actively litigating this matter for nearly two-and-a-half years and

conducting extensive party and non-party written discovery that the Parties were prepared to

discuss settlement. See Wright v. Nationstar Mortg. LLC, No. 14 C 10457, 2016 WL 4505169, at

*11 (N.D. Ill. Aug. 29, 2016) (finding no collusion or unfairness where “the parties have

vigorously defended their positions throughout the litigation . . . and engaged in discovery” prior

to reaching settlement). Those discussions entailed a day-long mediation assisted by an



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experienced mediator before the Parties agreed on the principle terms of the Settlement. See App.

2 ¶¶ 5-6. Once those terms were in place, another month negotiating the finer details of the

Agreement before executing it on April 9, 2022. Id. ¶ 6.

           The arms-length nature of the Parties’ discussions is also borne out by the terms of the

Agreement itself. The Settlement is non-reversionary, provides significant cash payments to all

members of the Settlement Class who submit valid claims, and is devoid of any provision that

could indicate fraud or collusion such as a “clear sailing” or “kicker” clause related to attorney’s

fees or the incentive award. See Snyder v. Ocwen Loan Servicing, LLC, No. 14 C 8461, 2019 U.S.

Dist. LEXIS 80926, at *15 (N.D. Ill. May 14, 2019) (granting preliminary approval where

agreement had “no provision for reversion of unclaimed amounts, no clear sailing clause regarding

attorneys’ fees, and none of the other types of settlement terms that sometimes suggest something

other than an arm’s length negotiation”); Aranda v. Caribbean Cruise Line, Inc., No. 12 C 4069,

2017 U.S. Dist. LEXIS 29400, at *14 (N.D. Ill. Mar. 2, 2017) (same).

           For all these reasons, the Court should find the Settlement here was the result of good-

faith, arm’s-length negotiations. See Schulte v. Fifth Third Bank, No. 09-CV-6655, 2010 U.S. Dist.

LEXIS 144810, at *15-16 n.5 (N.D. Ill. Sept. 10, 2010) (noting courts “presume the absence of

fraud or collusion in negotiating the settlement, unless evidence to the contrary is offered”).

                  3. The proposed Settlement treats Settlement Class Members equitably.

           The next Rule 23(e)(2) consideration supports approval where the proposed settlement

treats all class members equitably. Here, each Settlement Class Member has identical TCPA claims

against Allstate, which is why they receive identical treatment under the proposed Settlement.

Specifically, every Settlement Class Member who submits a valid claim is entitled to an equal

amount per call. See Ortiz v. Fibreboard Corp., 527 U.S. 815, 855 (1999) (where class members



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are similarly situated with similar claims, equitable treatment is “assured by straightforward pro

rata distribution of the limited fund”). No Settlement Class Member is treated differently, and each

can object or opt out in the same fashion. Because there is no disparate treatment between

members, the Settlement merits approval.

                  4. The relief provided to the Settlement Class is more than adequate.

           The most critical Rule 23(e)(2) factor analyzes whether the relief provided for the class is

adequate. “Because the essence of settlement is compromise, courts should not reject a settlement

solely because it does not provide a complete victory to the plaintiffs.” In re AT&T Mobility

Wireless Data Servs. Sales Litig., 270 F.R.D. 330, 347 (N.D. Ill. 2010) (cleaned up).

           Here, Allstate has agreed to create a $4,500,000.00 non-reversionary Settlement Fund for
a class of approximately 7,451 individuals, all of whom who submit valid claims are expected to
receive $1,000 based on $500 per call.
           This Settlement exceeds most other TCPA class actions settlements. Indeed, courts have

granted preliminary and final approval of TCPA class action settlements that achieved much

smaller recoveries. See, e.g., Connor v. JPMorgan Chase Bank, N.A., No. 10 CV 01284 GPC BGS

(S.D. Cal. Feb. 5, 2015), ECF No. 160 (Final Judgment and Order of Dismissal entering final

approval of settlement providing slightly less than 2.5 million accounts for $11,268,058); In re

Capital One TCPA Litigation, 12-cv-10064 (MDL No. 2416) (N.D. Ill. Feb. 12, 2015) (granting

final approval where each class member would be awarded $39.66) (Holderman, J.); Steinfeld v.

Discover Fin. Svcs. 12-cv-01118 (N.D. Cal.) (Final Approval of $46.98 to each claimant); Kramer

v. Autobytel, No. 10-cv-02722, 2012 U.S. Dist. LEXIS 185800 (N.D. Cal. Jan. 27, 2012)

(approving $12.2 million settlement to benefit 47 million class members); Malta v. Fed. Home

Loan Mortg. Corp., No. 10-cv-1290, 2013 U.S. Dist. LEXIS 15731 (S.D. Cal. Feb. 5, 2013)

(preliminarily approving $17.1 million settlement to 5,887,508 class members; final approval


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granted at ECF No. 91); Adams v. AllianceOne Receivables Mgmt. Inc., No. 08-cv-00248 (S.D.

Cal. Sept. 28, 2012), ECF Nos. 116 and 137 (approving $9 million settlement to benefit 6,696,743

class members); Palmer v. Sprint Nextel Corp., No. 09-cv-01211 (W.D. Wash. Oct. 21, 2011),

ECF Nos. 84 and 91 (approving $5.5 million settlement to benefit 18.1 million class members).

           In sum, the relief provided by the proposed Settlement is more than adequate and exceeds

the recoveries provided by other TCPA class settlements found to be fair, adequate and reasonable,

making the Settlement here a great result for the Class. And, as shown below, the sub-factors set

forth in Rule 23(e)(2) further confirm the adequacy of the class relief.

                          a. The risks of continued litigation weigh, when viewed against the
                             relief provided, weigh in favor of approval.

           When evaluating the adequacy of class relief, a court should first compare the costs, risks,

and delay of trial against the immediate benefits afforded by the proposed settlement. Fed. R. Civ.

P. 23(e)(2), Advisory Committee’s Note to 2018 amendment. This sub-factor weighs heavily in

favor of approval because the proposed Settlement provides immediate relief to Settlement Class

Members while avoiding potentially years of costly, complex litigation, and appeals and the

associated risk.

           While Plaintiff remains confident in the strength of his claims, Allstate denied all of the

material allegations while raising myriad legal and factual defenses that, if successful, could

preclude any recovery for the Settlement Class. Allstate’s primary defense is that it is not

vicariously liable for the calls because it has no agency relationship with RMG or the vendors who

placed the calls. See ECF No. 124 at 44 (¶¶ 5-6). While Plaintiff is confident he would prevail on

this issue, it’s a highly-fact-intensive issue with no guarantee of success at trial.

           In addition, Allstate intended to avoid liability by proving, among other things, that: (1)

Plaintiff consented to the calls by actively participating and providing personal information during


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them, thereby encouraging the calls to continue, see ECF No. 124 at 44 (¶¶ 4, 10); (2) the claims

are barred by the TCPA’s regulatory DNC “safe harbor” because Allstate’s do-not-call compliance

procedures satisfy 47 C.F.R. § 64.1200(c)(2)(i) and the calls were made in error, see id. at 45 (¶

13). See also id. at 44-45 (¶¶ 3, 7, 8, 11-12, 14, 16) (asserting additional defenses).

           A victory on any of those defenses could doom the case in its entirety or, at the very least,

greatly reduce the size of the proposed class and preclude any recovery for scores of class members

who stand to benefit from the Settlement.

           And, before resolving Allstate’s substantive defenses, Plaintiff would first need to prevail

at class certification, which would entail extensive motion practice on several hotly contested

issues with no guarantee of success. See Fed. R. Civ. P. 23(e)(2), Advisory Committee’s Note to

2018 Amendment (directing courts to consider the likelihood of certification when evaluating this

sub-factor). Though Plaintiff maintains this case is ideal for class certification, success is certainly

not guaranteed and Allstate intends to vigorously oppose. See ECF No. 124 at 44 (¶ 2, asserting as

a defense that class cannot be certified).

           Finally, even if Plaintiff prevailed at class certification and obtained a complete victory on

the merits, Allstate intended to seek reduction of damages based on the argument an award of up

to $500 per call would violate its right to substantive and procedural due process and is barred by

the Fifth, Eight, and Fourteenth Amendments to the United States Constitution. See ECF No. 124

at 45 (¶ 9). This, too, presents a significant risk to the Settlement Class, as some courts view awards

of aggregate, statutory damages with skepticism and reduce such awards—even after a plaintiff

has prevailed on the merits—on due process grounds. See, e.g., Aliano v. Joe Caputo & Sons -

Algonquin, Inc., No. 09 C 910, 2011 U.S. Dist. LEXIS 48323, *13 (N.D. Ill. May 5, 2011) (“[T]he

Court cannot fathom how the minimum statutory damages award for willful FACTA violations in



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this case — between $100 and $1,000 per violation — would not violate Defendants’ due process

rights . . . . Such an award, although authorized by statute, would be shocking, grossly excessive,

and punitive in nature.”); but see Phillips Randolph Enters., LLC v. Rice Fields, No. 06 C 4968,

2007 U.S. Dist. LEXIS 3027, *7-8 (N.D. Ill. Jan. 11, 2007) (“Contrary to [defendants’] implicit

position, the Due Process clause of the 5th Amendment does not impose upon Congress an

obligation to make illegal behavior affordable, particularly for multiple violations.”).

           Taking these realities into account and recognizing the risks involved in any litigation, the

monetary relief available to each Settlement Class Member represents a truly excellent result.

Instead of facing the uncertainty of a potential award in their favor years from now, the Settlement

allows Plaintiff and Settlement Class Members to receive immediate and certain relief. See, e.g.,

Goldsmith, 1995 U.S. Dist. LEXIS 15093 at *14-15 (“As courts recognize, a dollar obtained in

settlement today is worth more than a dollar obtained after a trial and appeals years later.”); Schulte

v. Fifth Third Bank, 805 F. Supp. 2d 560, 586 (N.D. Ill. 2011) (“Settlement allows the class to

avoid the inherent risk, complexity, time, and cost associated with continued litigation.”). Thus,

this sub-factor weighs in favor of preliminary approval.

                          b. The proposed method of distribution is effective.

           The next sub-factor analyzes the whether the proposed method for distributing relief to the

class is effective. Fed. R. Civ. P. 23(3)(2)(C)(ii). Effective distribution methods are those that “get

as much of the available damages remedy to class members as possible and in as simple and

expedient a manner as possible” while ensuring “only legitimate claims” are paid. 4 NEWBERG ON

CLASS ACTIONS § 13:53 (5th ed.).

           Here, class members need only complete a short claim form requiring only basic

information like name and address, which can be submitted via online, mail or phone by providing

their unique Claim ID found on each Mail Notice that is sent. See App. 1 §§ 10.2(C); id. at Ex. 3.

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Notice includes two rounds of mailed notice and a third reminder notice via email to the extent

they have not already submitted a claim or opted out. In addition, each class member will be able

to choose whether to receive payment via check or electronically. See id. §§ 2.12, 2.18, 10.2(A),

10.2(C); id. at Ex. 1 (last page of E-Mail Notice containing claim form); id. at Ex. 3 (last page of

Mail Notice containing claim form). The checks will be mailed and the electronic deposits will be

made no later than forty-five (45) days after final approval is granted absent any appeals. Id. §§

2.10, 12.1.

           This proposed method of distribution is about as simple and expeditious as a claims-made

settlement can get while also ensuring only legitimate claims are paid. The process set forth in the

Agreement here is clearly effective and weighs in favor of preliminary approval.

                          c. The proposed attorney fee award and timing of payment support
                             preliminary approval.

           The final relevant sub-factor7 analyzes the adequacy of the class relief in light of “the terms

of any proposed award of attorney’s fees, including timing of payment.” Fed. R. Civ. P.

23(e)(2)(C)(iii).

           Here, the Agreement does not guarantee any set fee, nor does it provide that Allstate has

agreed to any set fee amount. Instead, Class Counsel anticipates asking the Court to approve a fee

award of 36% of the Settlement Fund (excluding administration and other Settlement Costs

incurred)—an amount courts within the Seventh Circuit routinely award in TCPA and other class

actions. See, e.g., Birchmeier, 896 F.3d at 796-97 (affirming attorney fees in TCPA class action of



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 The fourth sub-factor directs courts to consider any side deals or separate agreements reached by the
parties in connection with the settlement agreement. See Fed. R. Civ. P. 23(e)(2)(c)(iv), (e)(3). Because the
Parties have reached no such agreement, see App. 2¶ 11, this sub-factor does not factor into the analysis,
see, e.g., Hale v. State Farm Mut. Auto. Ins. Co., No. 12-0660-DRH, 2018 U.S. Dist. LEXIS 210368, at
*20 (S.D. Ill. Dec. 13, 2018) (“The parties have not identified, nor is the Court aware of, any agreement—
other than the Settlement itself—that must be considered pursuant to Rule 23(e)(3). This factor is neutral.”).

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36% of first $10 million); Kolinek v. Walgreen Co., 311 F.R.D. 483, 503 (N.D. Ill. 2015)

(Kennelly, J.) (36% of fund net admin costs in TCPA class action); In re Capital One, 80 F. Supp.

3d 781, 807 (N.D. Ill. 2015) (Holderman, J.) (36% of first $10 million of TCPA class settlement);

see also Martin v. Jth Tax, No. 1:13-cv-6923, 2015 U.S. Dist. LEXIS 199180, at *8-9 (N.D. Ill.

Sep. 23, 2015) (Shah, J.) (34% of total TCPA fund); Lopez-McNear v. Superior Health Linens,

LLC, No.19-cv-2390 (N.D. Ill. Apr. 27, 2021), ECF No. 69 (awarding 35% of fund); Cornejo v.

Amcor Rigid Plastics USA, LLC, No. 1:18-cv-07018, ECF No. 57 (N.D. Ill. Sept. 10, 2020)

(awarding 35% of fund).

           Class Counsel will file their application on the date of the Notice Deadline, which will then

be posted on the Settlement Website allowing Class Members to review or object. The Court will

rule on the application and actual funding will occur only after Final Approval. See App. 1§§ 2.16,

6.1, 9.1(b). Thus, the provisions regarding fees are fair, reasonable and support approval.

           Considering all these factors, the relief provided to the class is more than adequate. For the

foregoing reasons, the Parties’ Agreement is fair, reasonable, and adequate, and merits approval.

           C.     The Settlement Class should be certified.

           In order to certify a settlement class at the preliminary approval stage, the Court must also

determine whether the requirements of Rule 23 are met. Amchem Prods., Inc. v. Windsor, 521 U.S.

591, 620 (1997). To that end, Plaintiff must demonstrate the Settlement Class satisfies the criteria

imposed by Rule 23(a), which requires that: (i) the proposed class be so numerous that joinder of

individual class members is impracticable; (ii) there be questions of law and fact common to the

class; (iii) the proposed class representative’s claims be typical of the class claims; and (iv) the

named class representative and counsel will fairly and adequately represent the interests of the

class. Fed. R. Civ. P. 23(a); see Messner v. Northshore Univ. HealthSystem, 669 F.3d 802, 811 (7th

Cir. 2012).

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           And, because the Settlement provides for monetary relief, the Settlement Class must also

satisfy Rule 23(b)(3)’s requirements that: (i) common questions of law or fact predominate over

individual issues; and (ii) the class action device is superior to other means of resolving the claims.

Fed. R. Civ. P. 23(b)(2). Finally, a Rule 23(b)(3) class must also be “ascertainable”—i.e. defined

by objective criteria. Mullins v. Direct Digital, LLC, 795 F.3d 654, 659 (7th Cir. 2015).

           As explained below, the Settlement Class satisfies all of these prerequisites and should

therefore be certified for settlement purposes.

                  1. The Settlement Class is sufficiently numerous.

           Rule 23(a)(1) requires a class be so numerous that joinder of all members is impracticable.

A class of as few as 40 is sufficient. Smith v. Dearborn County, 244 F.R.D. 512, 517 (S.D. Ind.

2007) (citing Swanson v. American Consumer Industries, Inc., 415 F.2d 1326, 1333, fn.9 (7th Cir.

1969)). Here, the Settlement Class consists of approximately 7,451 members, which easily satisfies

numerosity.

                  2. Plaintiff’s claims are typical.

           A putative class representative also must demonstrate that his claims are typical of the

claims of the class she seeks to represent. Fed. R. Civ. P. 23(a)(3). A claim is typical if it “arise[es]

from the same events or course of conduct that gives rise to the putative class members’ claims.”

Beaton v. SpeedyPC Software, 907 F.3d 1018, 1026 (7th Cir. 2018); accord Phillips v. Waukegan

Hous. Auth., 331 F.R.D. 341, 352 (N.D. Ill. 2019). This ensures there is “enough congruence

between the named representative’s claim and that of the unnamed members of the class to justify

allowing the named party to litigate on behalf of the group.” Spano v. The Boeing Co., 633 F.3d

574, 586 (7th Cir. 2011); see also Owner-Operator Indep. Drivers Ass’n v. Allied Van Lines, Inc.,

231 F.R.D. 280, 282 (N.D. Ill. 2005) (typicality is a “low hurdle” requiring “neither complete



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coextensivity nor even substantial identity of claims”).

           Here, there is no daylight between Plaintiff’s claims and those of the Settlement Class.

Instead, those claims are identical and all flow directly from Allstate or someone allegedly acting

on its behalf making telemarketing calls to telephone numbers on the national Do Not Call registry

based on leads provided by, through, and/or directed by Richardson Marketing Group and related

entities. Thus, Plaintiff’s TCPA claims arise out of the same “event, practice or course of conduct

that gives rise to the claim[s] of the other class members” and “are based on the same legal theory.”

Parker v. Risk Mgmt. Alternatives, Inc., 206 F.R.D. 211, 213 (N.D. Ill. 2002). Consequently,

Plaintiff is typical of the Settlement Class.

                  3. Plaintiff and Counsel are adequate.

           Adequacy means Plaintiff and his counsel “will fairly and adequately protect the interests

of the class.” Fed. R. Civ. P. 23(a)(4). As demonstrated above, both Plaintiff and proposed Class

Counsel fully satisfy this requirement. See supra § III.B.1.

                  4. Commonality is satisfied.

           Commonality requires that “there are questions of law or fact common to the class” and

that “the class members have suffered the same injury.” Fed. R. Civ. P. 23(a)(2); Wal-Mart Stores,

Inc. v. Dukes, 564 U.S. 338, 349-50 (2011). The class claims must “depend upon a common

contention . . . capable of class-wide resolution—which means that determination of its truth or

falsity will resolve an issue that is central to the validity of each one of the claims in one stroke.”

Wal-Mart, 564 U.S. at 350. A single common question is sufficient to satisfy Rule 23(a)(2).

Langendorf v. Skinnygirl Cocktails, LLC, 306 F.R.D. 574, 589 (N.D. Ill. 2014) (collecting cases).

           Here, commonality is satisfied because there are many questions of law and fact that center

around the calls in question and Allstate’s liability, are common to all of the Settlement Class



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Members’ claims, and can be resolved in “single stroke.” See, e.g., Parker, 206 F.R.D. at 213 (“[A]

common nucleus of operative fact is usually enough to satisfy the [commonality] requirement.”);

G.M. Sign, Inc. v. Finish Thompson, Inc., No. 07 C 5953, 2009 U.S. Dist. LEXIS 73869, *12 (N.D.

Ill. Aug. 20, 2009) (finding the following common questions: “1) whether Defendant violated the

TCPA by faxing advertisements without first obtaining express invitation or permission to do so;

2) whether Plaintiff and other class members are entitled to statutory damages; and 3) whether

Defendants acts were ‘willful’ or ‘knowing’ under the TCPA and, if so, whether Plaintiff and other

class members are entitled to trebled damages.”).

                  5. Common questions predominate.

           Rule 23(b)(3) requires that “the questions of law or fact common to the class members

predominate over any questions affecting only individual members.” Fed. R. Civ. P. 23(b)(3).

Predominance “is satisfied when ‘common questions represent a significant aspect of [a] case and

. . . can be resolved for all members of [a] class in a single adjudication.’” Messner, 669 F.3d at

815. Put another way, the critical issue is whether “there exists generalized evidence that proves

or disproves an element on a simultaneous, class-wide basis” since such “proof obviates the need

to examine each class member’s individual position.” Golon v. Ohio Sav. Bank, No. 98 C 7430,

1999 U.S. Dist. LEXIS 16452, at *13 (N.D. Ill. Oct. 14, 1999).

           That is the case here because Plaintiff’s and the other Settlement Class Members’ claims

hinge on the following common questions, among others, which can be resolved through class-

wide evidence: (1) whether the calls constitute telephone solicitations; (2) whether there was

consent for the calls; (3) whether the calls violated the TCPA; and (4) whether Allstate is

vicariously liable for the calls.

           As such, the TCPA violations at issue can, for provisional certification purposes, be



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determined on a class-wide basis in a single adjudication without consideration of any

individualized issues. Predominance is therefore satisfied. See, e.g., Sadowski v. Med1 Online,

LLC, No. 07 C 2973, 2008 U.S. Dist. LEXIS 41766, *13 (N.D. Ill. May 27, 2008) (finding common

issues such as “how numbers were generated . . . and whether Defendant’s actions . . . violated

the TCPA” predominated, and that the issue of consent might be resolved through common proof

such as “the source of the numbers”); Kurgan v. Chiro One Wellness Ctrs. LLC, No. 10-cv-1899,

2014 U.S. Dist. LEXIS 20255, at *33 (N.D. Ill. Feb. 19, 2014) (“Where, as here, the focus is on

the liability-imposing conduct of the defendant that is identical for all putative plaintiffs, the

predominance element is satisfied.”).

                  6. A class action is the superior means of resolving this dispute.

           Rule 23(b)(3) requires that “a class action [be] superior to other available methods for fairly

and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). The rule provides four

criteria that govern superiority analysis, all of which weigh in favor of certification. “Where

classwide litigation of common issues will reduce litigation costs and promote greater efficiency,

a class action may be superior to other methods of litigation.” General Tel. Co. of Sw. v. Falcon,

457 U.S. 147, 155 (1982). This is particularly true in actions like this one, where numerous

individual claimants each suffer a relatively small harm. “Rule 23(b)(3) was designed for

situations . . . in which the potential recovery is too slight to support individual suits, but injury is

substantial in the aggregate.” Murray v. GMAC Mortg. Corp., 434 F.3d 948, 953 (7th Cir. 2006);

accord Sadowski, 2008 U.S. Dist. LEXIS 41766, at *14 (“In consumer actions involving small

individual claims, such as this one, class treatment is often appropriate because each member’s

damages ‘may be too insignificant to provide class members with incentive to pursue a claim

individually.’”) (quoting Murray v. New Cingular Wireless Servs., 232 F.R.D. 295, 303 (N.D. Ill.



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2005)).

            Here, the alternative to class resolution is over 7,000 individual lawsuits for recoveries up

to $500 without providing attorneys’ fees since the TCPA is not fee shifting. As each case would

require resolution of identical factual and legal issues, the efficiencies achieved by class-wide

resolution are obvious. And there are no manageability issues here because the claims are being

certified for purposes of settlement. See, e.g., Amchem, 521 U.S. at 620 (“Confronted with a

request for settlement-only class certification, a district court need not inquire whether the case, if

tried, would present intractable management problems . . . for the proposal is that there be no

trial.”).

                   7. The Settlement Class is ascertainable.

            Finally, the Settlement Class is ascertainable. Although not an element of Rule 23, the

ascertainability requirement imposes a modest bar. It simply requires the class to be defined using

“objective” criteria. Mullins, 795 F.3d at 672.

            Here, the Settlement Class definition is based entirely on objective components: (1) at least

two telephone calls within a 12-month period based on leads provided by, through, and/or directed

by RMG and related entities; (2) promoting Allstate insurance; (3) during a specific date range;

(4) to a telephone number that was registered on the national Do Not Call registry more than 31

days before the first call. Further, Settlement Class Members are not only ascertainable, but can

be readily identified from call records compiled in the litigation. Accordingly, the ascertainability

requirement is satisfied. Mullins, 795 F.3d at 672.

            As demonstrated above, the Settlement Class satisfies the requirements of Rule 23(a) and

Rule 23(b)(3) as well as the Seventh Circuit’s ascertainability standard. Therefore, the Court

should certify the proposed Settlement Class.



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           D.     The proposed Notice plan is constitutionally sound.

           “Rule 23(e)(1)(B) requires the court to ‘direct notice in a reasonable manner to all class

members who would be bound by a proposed settlement, voluntary dismissal, or compromise’

regardless of whether the class was certified under Rule 23(b)(1), (b)(2), or (b)(3).” Manual for

Compl. Lit., supra, at § 21.312. The best practicable notice is that which is “reasonably calculated,

under all the circumstances, to apprise interested parties of the pendency of the action and afford

them an opportunity to present their objections.” Mullane v. Cent. Hanover Bank & Trust Co.,

339 U.S. 306, 314 (1950).

           The proposed forms of Notice, attached as Exhibits 1 and 3 to the Agreement are more than

adequate. The Notice Plan provides that direct, individual notice (“Mail Notice”) will be mailed

by the Administrator to each Settlement Class Member at the address in the class list, or to the

address the Administrator obtains via reverse look-up for numbers where the class lists contains

no address, within twenty-one (21) days of the entry of Preliminary Approval Order. App. 1 §§

2.18, 2.19, 8.1(D), 10.2(A). For Mail Notices returned as undeliverable, the Administrator will

perform skip tracing and re-issue the Mail Notice to all Settlement Class Members for whom an

alternative address can be found. Id. § 10.2(A). Thirty days later, a second Mail Notice will be

mailed to all Settlement Class Members who have not submitted a claim or opted out. Id. §§ 2.18,

10.2(A). And two weeks after that, a “reminder” E-Mail Notice will be sent to those people who

still have not submitted a claim or opted out. Id. §§ 2.12, 10.2(A).

           The Mail Notice and E-Mail Notice provide information about the claims at issue, the cash

benefits provided by the Settlement, the process for distributing those cash benefits the proposed

attorney fee and incentive awards, and the procedure for excluding oneself or objecting. See App.

1 at Ex. 1 and Ex. 3. Settlement Class Members will have 60 days from the date the Mail Notice



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is issued to exclude themselves from the Settlement. See App. 1§§ 8.1(D), 8.1(F), 13.1. The Mail

Notice shall also direct recipients to (and the E-Mail Notice will have an active hyperlink to) the

Settlement Website, which will provide Settlement Class Members with 24-hour access to

additional information about the case, including important court documents and a detailed “long

form” Website Notice. Id. §§ 10.2(A), 10.2(B); id. at Ex. 5 (Website Notice).

           Accordingly, the proposed Notice Plan passes muster and should be approved.

IV.        CONCLUSION

           For all of the foregoing reasons, Plaintiff respectfully requests that the Court: (1)

conditionally certify the Settlement Class and appoint Plaintiff as class representative; (2) appoint

his attorneys, Keogh Law, Ltd., as Class Counsel; (3) preliminarily approve this Agreement and

the Settlement reflected herein as fair, adequate and reasonable to the Settlement Class; (4) approve

the form of Class Notice and find that the notice program constitutes the best notice practicable

under the circumstances, provides due and sufficient notice to the Settlement Class and fully

satisfies the requirements of due process and Rule 23; (5) direct that Notice be provided to the

Settlement Class pursuant to the terms of the Agreement within twenty-one (21) days following

entry of the Preliminary Approval Order (the “Notice Deadline”); (6) establish a procedure for

Settlement Class Members to object to the Settlement or exclude themselves from the Class; (7)

set a deadline sixty (60) days after the Notice Deadline, after which no one shall be allowed to

object to the Settlement, exclude himself or herself, or seek to intervene (the “Opt-Out and

Objection Deadline”); (8) pending determination of whether the Settlement should be finally

approved, bar and enjoin all persons in the Settlement Class, individually, and on a representative

basis or other capacity, from commencing or prosecuting against any of the Released Parties in

any action, arbitration, or proceeding in any court, arbitration forum or tribunal asserting any of



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the Released Claims unless they timely opt-out; (9) pending final determination of whether the

Settlement should be approved, stay all proceedings except those related to effectuating the

Settlement; and (10) schedule a hearing no earlier than sixty (60) days after the Opt-Out and

Objection Deadline to consider final approval of the Settlement. Class Counsel proposes the

following schedule as set forth in the draft Preliminary Approval Order attached to the Agreement

as Exhibit 4 and separately attached hereto as Appendix 3:

 ________, 2022            Deadline for notice to be provided in accordance with the Agreement
 [45 days after the date   and this Order (Notice Deadline)
 of this Order]
 _________, 2022           Deadline for filing of Plaintiff’s Motion for Attorneys’ Fees and Costs
 [Notice Deadline]         and Service Award
 ________, 2022            Deadline to file objections or submit requests for exclusion (Opt-Out
 [60 days after the        and Objection Deadline)
 Notice Deadline]
 ________, 2022            Deadline for Class Members to Submit a Claim Form (Claim Period)
 [60 days after the
 Notice Deadline]
 __________, 2022          Deadline for Parties to file the following:
 [30 days after the           (1) List of persons who made timely and proper requests for
 Opt-Out            and           exclusion (under seal);
 Objection Deadline]          (2) Proof of Class Notice; and
                              (3) Motion and memorandum in support of final approval, including
                                  responses to any objections.

 _______, 2022 at Final Approval Hearing
 ____ _.m.
 [No earlier than 149
 days from the entry of
 this Order]




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Dated: April 18, 2022
                                      Respectfully Submitted,

                                      THOMAS GEBKA, individually and on behalf of all
                                      others similarly situated, Plaintiffs

                                      By: /s/ Theodore H. Kuyper

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                              CERTIFICATE OF SERVICE

       I hereby certify that, on April 18, 2022, I caused a copy of the foregoing Plaintiff’s
Unopposed Motion for Preliminary Approval of Class Action Settlement and Supporting
Memorandum to be served upon all counsel of record via electronic filing using the CM/ECF
system.


                                                   /s/ Theodore H. Kuyper




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